   Case 4:24-cv-01940   Document 45        Filed on 03/14/25 in TXSD     Page 1 of 39




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION



TERRY MONSKY, Individually and On Behalf
of All Others Similarly Situated,

                        Plaintiff,           Case No. 4:24-cv-01940
                                             (Consolidated with Case No. 4:24-cv-02567)
      vs.

DIRECT DIGITAL HOLDINGS, INC.,               Judge Kenneth M. Hoyt
MARK WALKER, KEITH W. SMITH,
DIANA DIAZ, and DIRECT DIGITAL
MANAGEMENT, LLC,

                        Defendants.


                        LEAD PLAINTIFF’S OPPOSITION
                     TO DEFENDANTS’ MOTION TO DISMISS
    Case 4:24-cv-01940                    Document 45                 Filed on 03/14/25 in TXSD                         Page 2 of 39




                                                    TABLE OF CONTENTS

                                                                                                                                           Page

STATEMENT OF NATURE AND STAGE OF PROCEEDINGS ............................................... 1

STATEMENT OF THE ISSUES TO BE RULED UPON THE COURT ..................................... 1

INTRODUCTION AND SUMMARY OF THE ARGUMENT .................................................... 1

FACTUAL BACKGROUND ......................................................................................................... 4

ARGUMENT .................................................................................................................................. 7

     I.     LEGAL STANDARDS ..................................................................................................... 7

     II. PLAINTIFF APPROPRIATELY RELIES ON ALLEGATIONS FROM A FORMER
     COLOSSUS SSP MANAGER AND MEDIA REPORTS IN REPUTABLE INDUSTRY
     PUBLICATIONS ...................................................................................................................... 8

     III. PLAINTIFF ADEQUATELY ALLEGES MATERIAL MISREPRESENTATIONS AND
     OMISSIONS ............................................................................................................................. 9

          A. March 26, 2024: Defendants’ Half-Truths Regarding the Reasons for Direct Digital’s
          FY 2023 Revenue Shortfall ................................................................................................ 9

          B. November 9, 2023: Misleading Statements Made Prior to Colossus’s Suspension by
          Google ............................................................................................................................... 12

          C. December 5, 2023 through May 10, 2024: False and Misleading Statements Made After
          Colossus’s Suspension by Google .................................................................................... 16

                1. December 5, 2023 & January 9, 2024: Material Omissions Regarding FY 2024
                Growth and Guidance ................................................................................................. 16

                2. February 1, 2024: Misleading Statements Concerning Direct Digital’s Earlier
                “Milestones” ............................................................................................................... 19

                3. May 10, 2024: False Statements Concerning the Company’s Q1 2024 Operations
                and Performance ......................................................................................................... 22

     IV. THE TOTALITY OF PLAINTIFF’S ALLEGATIONS GIVE RISE TO A STRONG
     INFERENCE OF SCIENTER ................................................................................................ 24

          A. The Court Must Consider Plaintiff’s Allegations Collectively................................... 24

          B. Defendants Knew the Primary Reason for the Revenue Shortfall When They
          Announced FY 2023 Results on March 26, 2024 ............................................................. 25

                                                                        i
    Case 4:24-cv-01940                   Document 45               Filed on 03/14/25 in TXSD                      Page 3 of 39




          C. Plaintiff Alleges Additional Circumstantial Evidence of Scienter ............................. 25

          D. Defendants Fail to Present a More Compelling Inference .......................................... 29

CONCLUSION ............................................................................................................................. 30




                                                                    ii
    Case 4:24-cv-01940                   Document 45                Filed on 03/14/25 in TXSD                      Page 4 of 39




                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)

CASES

ABC Arbitrage Plaintiffs Grp. v. Tchuruk,
  291 F.3d 336 (5th Cir. 2002) ..................................................................................................... 3

Ashcroft v. Iqbal,
  556 U.S. 662 (2009) .................................................................................................................... 7

Backe v. Novatel Wireless, Inc.,
  642 F. Supp. 2d 1169 (S.D. Cal. 2009) ..................................................................................... 27

Backman v. Polaroid Corp.,
  910 F.2d 10 (1st Cir. 1990) ....................................................................................................... 22

Bielousov v. GoPro, Inc.,
  2017 WL 3168522 (N.D. Cal. July 26, 2017)........................................................................... 18

Carlucci v. Han,
  886 F. Supp. 2d 497 (E.D. Va. 2012) ....................................................................................... 21

City of Warren Police & Fire Ret. Sys. v. Prudential Fin., Inc.,
  70 F.4th 668 (3d Cir. 2023) ...................................................................................................... 23

Crutchfield v. Match Grp., Inc.,
  529 F. Supp. 3d 570 (N.D. Tex. 2021) ..................................................................................... 21

Curran v. Freshpet, Inc.,
  2018 WL 394878 (D.N.J. Jan. 12, 2018) .................................................................................. 15

Curry v. Hansen Med., Inc.,
  2012 WL 3242447 (N.D. Cal. Aug. 10, 2012) ......................................................................... 27

Delaware Cnty. Emps. Ret. Sys. v. Cabot Oil & Gas Corp.,
  2024 WL 83503 (S.D. Tex. Jan. 8, 2024) ................................................................................. 18

Denny v. Canaan Inc.,
  2023 WL 2647855 (S.D.N.Y. Mar. 27, 2023) .......................................................................... 21

Dorsey v. Portfolio Equities, Inc.,
  540 F.3d 333 (5th Cir. 2008) .............................................................................................. 27, 28

Dougherty v. Esperion Therapeutics, Inc.,
  905 F.3d 971 (6th Cir. 2018) .................................................................................................... 15


                                                                    iii
    Case 4:24-cv-01940                   Document 45               Filed on 03/14/25 in TXSD                      Page 5 of 39




ECA, Loc. 134 IBEW Joint Pension Tr. of Chi. v. JP Morgan Chase Co.,
  553 F.3d 187 (2d Cir. 2009)...................................................................................................... 12

Georgia Firefighters’ Pension Fund v. Anadarko Petroleum Corp.,
  514 F. Supp. 3d 942 (S.D. Tex. 2021) ........................................................................................ 7

Hutchins v. NBTY, Inc.,
  2012 WL 1078823 (E.D.N.Y. Mar. 30, 2012) .................................................................... 17, 26

In re ArthroCare Corp. Sec. Litig.,
   726 F. Supp. 2d 696 (W.D. Tex. 2010)......................................................................... 17, 28, 29

In re Cassava Scis., Inc. Sec. Litig.,
   2023 WL 3442087 (W.D. Tex. May 11, 2023) .................................................................... 9, 13

In re Cryolife, Inc. Sec. Litig.,
   2005 WL 8155579 (N.D. Ga. June 17, 2005) ........................................................................... 23

In re Fisker Auto. Holdings, Inc. S’holder Litig.,
   2015 WL 6039690 (D. Del. Oct. 15, 2015) .............................................................................. 23

In re McKesson HBOC, Inc. Sec. Litig.,
   126 F. Supp. 2d 1248 (N.D. Cal. 2000) ...................................................................................... 8

In re Mylan N.V. Sec. Litig.,
   2023 WL 3539371 (W.D. Pa. May 18, 2023) ............................................................................. 8

In re Nat’l Golf Props., Inc.,
   2003 WL 23018761 (C.D. Cal. Mar. 19, 2003) ........................................................................ 21

Janus Capital Group, Inc. v. First Derivative Traders,
  564 U.S. 135 (2011) .................................................................................................................. 23

Junius Constr. Co. v. Cohen,
  178 N.E. 672 (N.Y. Ct. App. 1931) .......................................................................................... 10

Loc. 210 Unity Pension & Welfare Funds v. McDermott Int’l Inc.,
  2015 WL 1143081 (S.D. Tex. Mar. 13, 2015) .......................................................................... 14

Lormand v. US Unwired Inc.,
  565 F.3d 228 (5th Cir. 2009) ............................................................................................. passim

Macquarie Infrastructure Corp. v. Moab Partners, L.P.,
 601 U.S. 257 (2024) .................................................................................................................. 10

Marcus v. J.C. Penney Co., Inc.,
 2015 WL 5766870 (E.D. Tex. Sept. 29, 2015) ........................................................................... 8


                                                                    iv
    Case 4:24-cv-01940                  Document 45              Filed on 03/14/25 in TXSD                     Page 6 of 39




Masel v. Villarreal,
 924 F.3d 734 (5th Cir. 2019) ........................................................................................ 17, 19, 23

Matrixx Initiatives, Inc. v. Siracusano,
 563 U.S. 27 (2011) ........................................................................................................ 13, 25, 30

Meitav Dash Provident Funds & Pension Ltd. v. Spirit AeroSystems Holdings, Inc.,
 2022 WL 377415 (N.D. Okla. Jan. 7, 2022) ............................................................................. 23

Menaldi v. Och-Ziff Cap. Mgmt. Grp. LLC,
 164 F. Supp. 3d 568 (S.D.N.Y. 2016)....................................................................................... 28

Nakkhumpun v. Taylor,
  782 F.3d 1142 (10th Cir. 2015) ................................................................................................ 10

Nathenson v. Zonagen Inc.,
  267 F.3d 400 (5th Cir. 2001) ........................................................................................ 25, 27, 28

Oklahoma Firefighters Pen. & Ret. Sys. v. Six Flags Ent. Corp.,
  58 F.4th 195 (5th Cir. 2023) .............................................................................................. passim

Omnicare, Inc. v. Laborers Dist. Council Constr. Industry Pension Fund,
 575 U.S. 175 (2015) ........................................................................................................... passim

Owens v. Jastrow,
 789 F.3d 529 (5th Cir. 2015) ...................................................................................................... 8

Plotkin v. IP Axess Inc.,
  407 F.3d 690 (5th Cir. 2005) ............................................................................................. passim

Pub. Emps. Ret. Sys. of Miss. v. Amedisys, Inc.,
  769 F.3d 313 (5th Cir. 2014) ...................................................................................................... 7

Rein v. Dutch Bros, Inc.,
  2024 WL 3105004 (S.D.N.Y. June 24, 2024) .......................................................................... 21

Roofers Local No. 149 Pension Fund v. Amgen Inc.,
  2024 WL 4354809 (S.D.N.Y. Sept. 30, 2024).......................................................................... 14

Rougier v. Applied Optoelectronics, Inc.,
  2019 WL 6111516 (S.D. Tex. Mar. 27, 2019) ................................................................... passim

Rubinstein v. Collins,
  20 F.3d 160 (5th Cir. 1994) ...................................................................................................... 18

Salinas v. City of Houston,
  2023 WL 3899020 (S.D. Tex. June 8, 2023) ............................................................................ 30


                                                                  v
    Case 4:24-cv-01940                    Document 45                Filed on 03/14/25 in TXSD                       Page 7 of 39




SEB Inv. Mgmt. AB v. Endo Int’l, PLC,
  351 F. Supp. 3d 874 (E.D. Pa. 2018) ........................................................................................ 27

Shaw v. Digital Equip. Corp.,
  82 F.3d 1194 (1st Cir. 1996) ..................................................................................................... 29

Smallen v. W. Union Co.,
  2019 WL 1382823 (D. Colo. Mar. 27, 2019) ........................................................................... 10

Smith v. Reg’l Transit Auth.,
  756 F.3d 340 (5th Cir. 2014) ...................................................................................................... 7

Southland Sec. Corp. v. INSpire Ins. Sols., Inc.,
  365 F.3d 353 (5th Cir. 2004) .............................................................................................. 15, 21

Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
  551 U.S. 308 (2007) .................................................................................................................. 24

W. Palm Beach Firefighters’ Pension Fund v. Conagra Brands, Inc.,
  495 F. Supp. 3d 622 (N.D. Ill. 2020) ............................................................................ 18, 19, 20

Yannes v. SCWorx Corp.,
  2021 WL 2555437 (S.D.N.Y. June 21, 2021) .......................................................................... 29

STATUTES, RULES AND OTHER AUTHORITIES

15 U.S.C. § 78u-4(b)(1) .................................................................................................................. 7

15 U.S.C. § 78u-4(b)(2) .................................................................................................................. 7

15 U.S.C. § 78u-5(c)(1)(A)(i) ................................................................................................. 18, 19

Private Securities Litigation Reform Act Rule 9(b) ........................................................... 1, 21, 24

SEC Rule 10b-5 .............................................................................................................................. 1

Securities Exchange Act of 1934 § 10(b) ................................................................................. 1, 10

Securities Exchange Act of 1934 § 20(a) ....................................................................................... 1




                                                                      vi
    Case 4:24-cv-01940             Document 45           Filed on 03/14/25 in TXSD               Page 8 of 39




         Lead Plaintiff Donald W. Hutchings, on behalf of himself and various trusts (see ECF 31)

(“Plaintiff”), submits this opposition to Defendants’ Motion to Dismiss (ECF 44) (“Def. Br.”). 1

                 STATEMENT OF NATURE AND STAGE OF PROCEEDINGS

         Plaintiff brings this putative class action under §§ 10(b) and 20(a) of the Securities

Exchange Act of 1934 and SEC Rule 10b-5 promulgated thereunder.

             STATEMENT OF THE ISSUES TO BE RULED UPON THE COURT

         Whether Plaintiff has adequately pleaded false statements or statements rendered

misleading by omission, and a strong inference of Defendants’ intentional or reckless behavior, as

required by Rule 9(b) and the Private Securities Litigation Reform Act (“PSLRA”).

                   INTRODUCTION AND SUMMARY OF THE ARGUMENT1

         This case concerns Direct Digital Holdings, Inc. (“Direct Digital” or the “Company”) and

its top executives, who, after achieving unexpected success in Q3 2023, chose to continuously tout

the Company’s current business and rosy outlook despite serious, unaddressed technological issues

that jeopardized its future viability. These unresolved issues led the Company’s two largest

customers, responsible for most of its revenue, to significantly scale back their business. Rather

than disclose the continuing crisis and temper their outlook, Defendants engaged in a “reckless[]

gamble” that this undisclosed “bad news” would eventually be overshadowed by future “good

news.” Oklahoma Firefighters Pen. & Ret. Sys. v. Six Flags Ent. Corp., 58 F.4th 195, 215 (5th

Cir. 2023). When they could no longer conceal the negative financial impact of these ongoing



1
 Unless otherwise noted, all internal quotation marks, citations, and footnotes from quoted material have been omitted,
and all emphasis in case quotations is added. “¶_” references are to Plaintiff’s Consolidated Complaint (ECF 35)
(“Complaint”). “FY” means fiscal year and “Q#” references specific quarters during the FY. “Def. Appx. B”
references Defendants’ Appendix B (ECF 44-3). “Pl. Appx. A” means Plaintiff’s Appendix of Exhibits in Support of
Lead Plaintiff’s Opposition to Defendants’ Motion to Dismiss, submitted herewith. Plaintiff objects to Defendants’
Appendix A (ECF 44-1) to the extent it contains matters outside of the Complaint or is used to make arguments not
made in Def. Br.

                                                          1
   Case 4:24-cv-01940         Document 45        Filed on 03/14/25 in TXSD       Page 9 of 39




issues, Defendants shamelessly misrepresented the true cause, continuing their deception.

       On March 26, 2024, Direct Digital announced its disappointing FY 2023 financial results,

reporting $157.1 million in revenues and badly missing its $170 million to $190 million revenue

guidance. On this news, Direct Digital’s stock price plummeted nearly 40%. While enormously

disappointing, Defendants assured investors that the Company remained positioned “to continue

our strong revenue growth” because the dramatic miss was caused by “two primary factors” largely

confined to Q4 2023, that is: (1) “lower-than-anticipated demand” and (2) its proactive,

“accelerate[d] . . . transition towards a cookie-less advertising platform.”

       However, Defendants deliberately concealed the true “primary factor” behind the revenue

shortfall. Direct Digital’s largest customer, Google Display & Video 360 (“Google”), which

accounted for 94% of the revenue in its sell side segment, Colossus Media, LLC (“Colossus”), had

blocked Colossus from its platform in Q4 2023 due to its systematic mis-declaration of user IDs.

This occurs when a sell-side platform (“SSP”) incorrectly associates users with inaccurate

identifiers, causing advertisers to target the wrong audience. By January 2024, Google had notified

the Company that it would “short pay” a Q4 2023 invoice such that the associated revenue—which

exceeded $8.8 million—was not recognized. Thus, this Google-related short pay was the primary

driver of the revenue miss, accounting for more than $8.8 million of the total $12.9 million

shortfall. Moreover, the undisclosed dispute with Google, along with ongoing platform issues that

led Google to drastically reduce its business in Q4 and beyond, raised serious doubts about Direct

Digital’s growth trajectory and long-term viability.

       Defendants had long known that Colossus’s platform was seriously flawed. Earlier in

2023, the Company’s second-largest customer, The Trade Desk, had also detected the systematic

mis-declaration of user IDs and blocked Colossus. Despite knowing about this critical defect in


                                                  2
  Case 4:24-cv-01940         Document 45         Filed on 03/14/25 in TXSD         Page 10 of 39




Colossus’s platform for nearly a year, Defendants chose to conceal it while simultaneously

promoting the Company’s current success and promising future. As one industry commentator

later aptly noted, “When two of the biggest players in the market [Google and The Trade Desk]

essentially blacklist your subsidiary, it’s not just a bump in the road—it’s a full-blown crisis. This

context makes the company’s earlier [March 26, 2024] explanations [regarding the FY 2023 miss]

seem like a smokescreen, diverting attention from the real issues at hand.”

       In the Fifth Circuit, “the disclosure required by the securities laws is measured not by literal

truth, but by the ability of the statements to accurately inform rather than mislead prospective

buyers.” Lormand v. US Unwired Inc., 565 F.3d 228, 248 (5th Cir. 2009). Throughout the class

period, prospective investors were misled into believing Direct Digital’s operational and growth

narrative and trusting that the FY 2023 miss was a temporary setback. In reality, Defendants were

actively concealing the severe risks posed by the Company’s faulty platform which could, and

eventually did, cause its revenues to plummet.

       Regarding scienter, Defendants rhetorically ask, “Why would Defendants raise and

reaffirm guidance that they supposedly knew Direct Digital could not meet in one quarter, only to

disclose a miss in the very next quarter?” However, that mischaracterizes the Complaint. Plaintiff

alleges that Defendants knew that Colossus’s platform was systematically mis-declaring user IDs

but deliberately concealed the issue, along with its risks and consequences.              Ultimately,

Defendants’ “reckless[] gamble” failed to pay off when the financial consequences materialized

and industry publications documented the “full-blown crisis” they had been secretly managing.

       Because Plaintiff satisfies the PSLRA’s pleading requirements, Defendants’ Motion to

Dismiss should be denied. See ABC Arbitrage Plaintiffs Grp. v. Tchuruk, 291 F.3d 336, 354 (5th

Cir. 2002) (PSLRA was enacted to prevent “abusive, frivolous strike suits,” not to “raise the


                                                  3
  Case 4:24-cv-01940          Document 45        Filed on 03/14/25 in TXSD          Page 11 of 39




pleading burdens . . . to such a level that facially valid claims . . . must be routinely dismissed.”).

                                   FACTUAL BACKGROUND

        Direct Digital is an end-to-end, full-service programmatic advertising platform for both

buy and sell side digital advertising. ¶2. The Company is controlled by its co-founders, Chief

Executive Officer (“CEO”) and Chairman, Mark D. Walker (“Walker”), and President, Keith W.

Smith (“Smith”), who together own all of its Class B common stock (exchangeable for publicly

traded Class A shares) and who retain 77% voting power over its operations. ¶¶2, 28–30, 32.

Diana P. Diaz (“Diaz”) is the Company’s Chief Financial Officer (“CFO”). ¶31.

        Direct Digital’s main subsidiary, accounting for 78% of FY 2023 revenues and all its

growth, is Colossus. ¶¶3, 58. Colossus’s SSP allows publishers to sell ad impressions to buyers,

through either real-time bidding auctions or direct deals with demand side platforms (“DSPs”) or

other ad networks. ¶¶47–49. It depends heavily on “cookies” to its deliver targeted ads. ¶¶36–

37.    Colossus processes billions of ad impressions, each occurring automatically in an

auction/bidding format, in a fraction of a second. ¶49. Colossus’s revenue is recognized in real-

time, i.e., immediately “when an ad is delivered or displayed in response to a winning bid request.”

¶50.

        Colossus’s business was highly concentrated. ¶59. In Q3 2023, 94% of its revenues and

most of its quarter over quarter growth came from a single DSP customer, Google. ¶¶60, 75.

Colossus’s second largest customer was another large DSP, The Trade Desk. ¶¶53, 75. Google

and The Trade Desk are two of the most prominent and sophisticated DSPs in world. ¶¶19, 53.

        Throughout most of its history, Direct Digital’s stock price languished. ¶5. But, on

November 9, 2023, it surprised investors by announcing Q3 2023 revenues of $59.5 million and

adjusted EBITDA of $5.4 million, blowing away Wall Street’s expectations. ¶64. Even better,


                                                  4
  Case 4:24-cv-01940        Document 45       Filed on 03/14/25 in TXSD        Page 12 of 39




with Q4 2023 almost halfway complete, the Company announced that it was raising its FY 2023

guidance by 50%, to between $170 million and $190 million. ¶65. In response, Direct Digital’s

stock price promptly doubled to $5.34 per share. ¶66. Defendants would reaffirm their revenue

and growth outlook, purportedly driven by the Company’s customer relationships and operational

excellence, throughout the remainder of 2023 and beyond, driving the Company’s stock price to

$32.51 per share on March 15, 2024. See, e.g., ¶¶8, 61, 95, 99–100, 103, 106, 108, 111, 118–119.

       Despite the impressive Q3 2023 results, behind the scenes Direct Digital was grappling

with a crisis involving Colossus’s sell side platform. The Company’s second largest customer,

The Trade Desk, had in mid-2023 observed Colossus presenting mis-declared user IDs when

working with its platform. ¶¶67–68. As a result, it blocked Colossus across its network, except

when an advertiser specifically requested the SSP. ¶68.

       With Google accounting for 94% of Colossus’s Q3 2023 revenues, the suspension by The

Trade Desk was manageable from a financial standpoint. ¶60. But it portended something much

worse which had the potential to completely disrupt Direct Digital’s business. The Company’s

inability to correct the problem and that its largest customer, Google, was among the most

sophisticated and influential DSPs in the world, meant that when Google inevitably detected the

issue, the financial ramifications would almost certainly be devastating. ¶¶53, 68–69, 73.

       Predictably, in late 2023, Google discovered that Colossus was mis-declaring user IDs and

blocked Colossus’s SSP across its network. ¶¶71–72, 75. After issuing credits to its affected

advertisers, Google ultimately reinstated Colossus, but at a fraction of previous volumes. ¶¶11,

71, 131; see also ¶60 (showing 51% revenue drop from Q4 2023 to Q1 2024). In January 2024,

Google formally notified Direct Digital that it was short paying a Q4 2023 invoice in an amount

exceeding $8.8 million, such that the Company could not recognize the associated revenue. ¶87.


                                                5
    Case 4:24-cv-01940            Document 45           Filed on 03/14/25 in TXSD               Page 13 of 39




         Then, on March 26, 2024, Direct Digital announced its FY 2023 financial results, reporting

just $157.1 million in revenues and badly missing its revised revenue guidance. ¶111. On this

news, Direct Digital’s stock price plummeted nearly 40%. ¶16. While disappointing, Defendants

assured investors that the Company remained in a position “to continue our strong revenue growth”

because the miss was due to two “primary factors” that were largely confined to Q4 2023, that is:

(1) soft demand and (2) its proactive, accelerated transition towards a cookie-less platform. ¶113.

Defendants failed to disclose Google’s Q4 2023 short pay, which accounted for the majority of the

$12.9 million revenue shortfall. ¶117. They also continued to hide the ongoing crisis with

Colossus’s platform and the related financial ramifications. Id.

         On May 10, 2024, Adalytics Research, LLC (“Adalytics”) published a study of The Trade

Desk and sixteen SSPs, comparing each SSP’s declared user IDs (upon which advertisers bid) to

the actual user IDs. ¶67. Over the course of several months, Adalytics observed that, for Colossus

only, the user ID declared to The Trade Desk at the time of an ad auction was different from the

actual user ID stored in the user’s browser. Id. Other publications soon reported additional details

including the first public reports of The Trade Desk blocking Colossus in mid-2023 and Google’s

suspension of the platform later in the year. ¶¶68–73. 2 The articles also reported that at least three

publishers had confirmed Colossus’s mis-declaration of user IDs (¶69), further corroborating

reports that Colossus was unable to fix the issue (¶73), and demonstrating that it was an ongoing

issue across the Company’s entire sell side platform. ¶¶10–11, 83.

         On May 23, 2024, when this case was filed, Direct Digital had not yet filed its 2023 Form

10-K due to the resignation of its independent auditor on April 17, 2024. ¶84. On October 15,


2
  Direct Digital denied that the user ID mismatches were deliberate and initially tried to blame the mismatches on its
“middleware” company, Bidswitch. ¶70. But Bidswitch refuted the claim, and Adalytics and others found that SSPs
that used Bidswitch to connect to The Trade Desk did not experience these same mismatches. Id. Colossus later sued
Adalytics, which thereafter denied that it meant to suggest that the platform issues were intentional.

                                                          6
     Case 4:24-cv-01940       Document 45       Filed on 03/14/25 in TXSD        Page 14 of 39




2024, it belatedly filed the report and disclosed for the first time that the Company’s largest sell

side customer (Google) had short paid 2023 invoices, resulting in an $8.8 million expense and

lower associated revenue in FY 2023. ¶87. It further disclosed that as a result of the mis-

declaration issue, a “significant customer” (The Trade Desk) had “paused its connection” and

thereafter resumed its business at even lower volumes. ¶¶91, 133. As a result, the Company said

there was substantial doubt about its ability to continue as a going concern. ¶88.

         Direct Digital also filed its overdue Form 10-Qs, which showed Q1 2024 revenue of $22.27

million and a $3.8 million net loss. ¶134. For Q2 2024, it reported only $21.8 million in revenue

and a $3.1 million net loss. Id. On this news, Direct Digital’s stock price sank 23%. ¶135. Today,

after last reporting quarterly revenue of $9.1 million for Q3 2024, the Company’s stock trades

under a dollar per share.

                                           ARGUMENT

I.       LEGAL STANDARDS

         In evaluating a motion to dismiss, “[t]he complaint must be liberally construed in favor of

the plaintiff, and all facts pleaded in the complaint must be taken as true.” Georgia Firefighters’

Pension Fund v. Anadarko Petroleum Corp., 514 F. Supp. 3d 942, 949 (S.D. Tex. 2021). The

court should not resolve any disputed issues of fact. Smith v. Reg’l Transit Auth., 756 F.3d 340,

347 (5th Cir. 2014). “To survive a motion to dismiss, a complaint must contain sufficient factual

matter, accepted as true, to state a claim to relief that is plausible on its face.” Pub. Emps. Ret.

Sys. of Miss. v. Amedisys, Inc., 769 F.3d 313, 320 (5th Cir. 2014) (quoting Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009)).       Additionally, to satisfy the PSLRA, a plaintiff must plead each

misrepresentation with “particularity” and allege facts collectively giving rise to “a strong

inference” of scienter. 15 U.S.C. § 78u-4(b)(1) & (b)(2).


                                                  7
  Case 4:24-cv-01940         Document 45        Filed on 03/14/25 in TXSD         Page 15 of 39




II.    PLAINTIFF APPROPRIATELY RELIES ON ALLEGATIONS FROM A
       FORMER COLOSSUS SSP MANAGER AND MEDIA REPORTS IN REPUTABLE
       INDUSTRY PUBLICATIONS

       Defendants seek to undermine Plaintiff’s particularized pleading by asking the Court to

disregard allegations that rely in part on a confidential witness and industry reporting. Def. Br. at

27–28. Courts may rely on assertions from a confidential source if the person is “described in the

complaint with sufficient particularity to support the probability that a person in the position

occupied by the source would possess the information alleged.” Owens v. Jastrow, 789 F.3d 529,

542 n.11 (5th Cir. 2015) (quoting ABC Arbitrage, 291 F.3d at 352); accord Six Flags, 58 F.4th at

207. Plaintiff’s witness is a “Colossus Media manager responsible for development of customer

relationships” such that he/she would be able to identify Google as the customer responsible for

92% ($30.9 million of $33.4 million) of Q4 2023 Colossus revenues, as well as its second largest

customer, The Trade Desk. ¶¶60, 75. Anyone in a fifteen or twenty-person company, and

particularly someone responsible for “customer relationships,” would know the customers

responsible for virtually all of the Company’s revenue. ¶75. A “Colossus Media manager” would

likewise know when and why the 92% customer “pulled the connection.” Id.

       Plaintiffs may also rely on published articles for their pleading where such “media sources”

are “sufficiently detailed” to “indicate [] their reliability” and their “independent investigative

effort.” In re Mylan N.V. Sec. Litig., 2023 WL 3539371, at *6 (W.D. Pa. May 18, 2023); In re

McKesson HBOC, Inc. Sec. Litig., 126 F. Supp. 2d 1248, 1272 (N.D. Cal. 2000) (“if the newspaper

article includes numerous factual particulars and is based on an independent investigative effort,

it is a source that may be credited”); Marcus v. J.C. Penney Co., Inc., 2015 WL 5766870, at *2 &

*2 n.4 (E.D. Tex. Sept. 29, 2015) (crediting a CNBC news report “[a]t this stage”). Here, The

Trade Desk’s “aware[ness] of issues” with Colossus’s mis-declaration of user IDs “for more than

a year,” as detailed in the AdExchanger article, was described by The Trade Desk itself through
                                                 8
  Case 4:24-cv-01940          Document 45         Filed on 03/14/25 in TXSD          Page 16 of 39




its “spokesperson.” Def. Br. at 27; ¶68. That the spokesperson is unnamed does not alter the fact

that he/she was designated by The Trade Desk to speak on its behalf. See Def. Br. at 27. Similarly,

the AdExchanger article cites “a source at Google” (¶71) whose account is sufficiently detailed

and consistent with other accounts of the Colossus suspension. See ¶¶73, 75.

        The witness and media accounts are corroborated by other facts. Six Flags, 58 F.4th at 208

(corroborated witness allegations given more weight). When asked about blocking Colossus,

Google confirmed that “[l]ate last year [in 2023] our teams identified sources of invalid traffic that

do not adhere to our guidance around how signals are shared in bid requests and took prompt

action.” ¶72. Direct Digital itself acknowledged Google’s suspension. ¶73. That Google was the

largest customer, and post-suspension it resumed its Colossus business “at a lower volume,” is

further corroborated by Colossus’s “[l]argest [c]ustomer” revenues falling from $30.9 million

(after deduction of the short pay) in Q4 2023 to $15.1 million in Q1 2024. ¶¶60, 71.

        The Court should reject Defendants’ effort to discard Plaintiff’s particularized allegations

which are corroborated by The Trade Desk, Google, and Direct Digital itself. At minimum, “the

reliability of the [] reports . . . is a question of fact that the Court cannot resolve at this time.” In

re Cassava Scis., Inc. Sec. Litig., 2023 WL 3442087, at *8 (W.D. Tex. May 11, 2023).

III.    PLAINTIFF ADEQUATELY ALLEGES MATERIAL MISREPRESENTATIONS
        AND OMISSIONS

        A.      March 26, 2024: Defendants’ Half-Truths Regarding the Reasons for
                Direct Digital’s FY 2023 Revenue Shortfall

        Defendants’ scheme to mislead investors by “concealing bad news in the hope that it will

be overtaken by good news” is demonstrated by their half-truth explanations for the Company’s

FY 2023 revenue miss. See Six Flags, 58 F.4th at 215. On March 26, 2024, Direct Digital reported

FY 2023 revenues of $157.1 million which fell $12.9 million short of guidance. ¶111. Walker

and Diaz identified “two primary factors” driving the miss, both of which were reassuring to
                                                   9
    Case 4:24-cv-01940            Document 45            Filed on 03/14/25 in TXSD              Page 17 of 39




investors since they were transitory in nature: (1) lower-than-anticipated Q4 demand and (2) the

Company’s accelerated transition towards a “cookie-less” platform. ¶¶111, 113–115. However,

Defendants failed to disclose the actual “primary factor” responsible for the miss, Google’s short

pay. ¶¶87, 112, 117. This factor not only had the largest financial impact on Q4 2023, accounting

for more than $8.8 million of the $12.9 million shortfall, but it also involved Direct Digital’s largest

customer, which raised serious concerns about the Company’s future. Id. Defendants had an

unmistakable duty to disclose this information to make the statements made not misleading.

Omnicare, Inc. v. Laborers Dist. Council Constr. Industry Pension Fund, 575 U.S. 175, 192 (2015)

(“[L]iteral accuracy is not enough: An issuer must as well desist from misleading investors by

saying one thing and holding back another”); cf. Nakkhumpun v. Taylor, 782 F.3d 1142, 1148

(10th Cir. 2015) (failure to disclose principal reason for termination of deal actionable). 3

         As the U.S. Supreme Court explained in a recent § 10(b) securities class action, “A classic

example of an actionable half-truth in contract law is the seller who reveals that there may be two

new roads near a property he is selling, but fails to disclose that a third potential road might bisect

the property.” Macquarie Infrastructure Corp. v. Moab Partners, L.P., 601 U.S. 257, 263–64

(2024); see also Junius Constr. Co. v. Cohen, 178 N.E. 672, 674 (N.Y. Ct. App. 1931) (Cardozo,

C.J.) (“The buyer, warned of the risk, was ready to assume it. But there was another and greater

risk about which the seller was silent, a risk like in kind but vastly greater in degree. Rutledge

street, if opened, would split the plot in halves.”). Here, the undisclosed proverbial third road, the

Google dispute and short pay, was the equivalent of a major thoroughfare.



3
  In Smallen v. W. Union Co., 2019 WL 1382823, at *22 (D. Colo. Mar. 27, 2019) (Def. Br. at 18) the court did not
hold that a defendant need not disclose “the most important reason” for an occurrence. Instead, the court did not agree
with the plaintiffs’ characterization of what the misleading statements meant to convey and why they were purportedly
misleading in the first instance. Id. at *23. Notably, unlike here, the statements did not claim to reveal the primary
factor driving the relevant expenditures. Id. at *22

                                                         10
  Case 4:24-cv-01940         Document 45       Filed on 03/14/25 in TXSD         Page 18 of 39




       According to Defendants, Plaintiff must specify the amount of lost revenue from decreased

demand and the cookie transition to compare it with the revenue lost due to Google’s short pay.

Def. Br. at 12, 18. However, from purely a financial perspective, Google’s short pay was the most

significant factor behind the $12.9 million miss. ¶¶15, 78, 87, 117; cf. Six Flags, 58 F.4th at 220–

221 (plaintiff not required to plead “how much revenue was overstated” where the court may infer

from other allegations of false statements that defendants “also may have overstated the revenue”).

Direct Digital ultimately acknowledged this on October 15, 2024, admitting an increase in 2023

sell side (Colossus) demand had been partially offset by a single issue, the reduction in 2023

revenue associated with the $8.8 million short pay. ¶87.

       Defendants further contend that Direct Digital had no obligation to disclose the short pay

earlier because the Company purportedly did not know the reason for it and was not required to

“jump the gun.” Def. Br. at 18–19. However, disclosure of the short pay was not premature—it

had already occurred (¶¶15, 87), and it involved Direct Digital’s largest customer (¶87), Google

(¶75), which contributed over 92% of Colossus’s quarterly revenue (¶60). The fact that Direct

Digital’s most significant customer was withholding millions from the nascent company was an

extraordinary event that needed to be disclosed to make the statements made not misleading. See

Rougier v. Applied Optoelectronics, Inc., 2019 WL 6111516, at *1, *9 (S.D. Tex. Mar. 27, 2019)

(disclosure of decreasing orders required for customer responsible for 50% of revenues). Unlike

the two temporary issues Defendants cited as causes for the Q4 2023 shortfall, a dispute of this

magnitude with Google had the potential to derail the Company’s entire business. ¶¶9, 112, 117.

Under Defendants’ flawed logic, even their belated October 2024 disclosure of the short pay would

still be premature, as they claim they never determined the reason. ¶87.




                                                11
    Case 4:24-cv-01940            Document 45            Filed on 03/14/25 in TXSD              Page 19 of 39




         Notwithstanding the short pay, Defendants were required to disclose the ongoing platform

issues, the resulting Google suspension, and its resumption at significantly reduced volumes to

ensure that their voluntary statements were not misleading. ¶¶112, 117. See ECA, Loc. 134 IBEW

Joint Pension Tr. of Chi. v. JP Morgan Chase Co., 553 F.3d 187, 197 (2d Cir. 2009) (“both

quantitative and qualitative factors should be considered in assessing a statement’s materiality”). 4

As a leading online industry journal summarized (¶86):

         These actions by The Trade Desk and Google paint a much clearer picture of why
         Direct Digital Holdings faced such significant financial pressure in Q4 2023. It
         wasn’t just about transitioning to a cookie-less future; it was about the immediate
         and tangible impacts of losing trust and access within the industry.

         When two of the biggest players in the market essentially blacklist your subsidiary,
         it’s not just a bump in the road—it’s a full-blown crisis. This context makes the
         company’s earlier explanations seem like a smokescreen, diverting attention from
         the real issues at hand.

         So, while Direct Digital Holdings tried to spin a tale of proactive adaptation to
         industry changes, the reality was far grimmer. The loss of trading privileges with
         major partners like The Trade Desk and Google likely had a direct impact on their
         bottom line. These events make a far more plausible explanation for their Q4
         financial woes than the narrative they attempted to sell. 5

         B.       November 9, 2023: Misleading Statements Made Prior to Colossus’s
                  Suspension by Google

         On November 9, 2023, Direct Digital announced record financial results and raised its FY

2023 revenue guidance by 50% to between $170 million and $190 million. ¶¶94–95. Investors



4
  While not determinative, Plaintiff is entitled to the reasonable inference that the Google short pay was connected to
the ongoing user ID issues, and that Defendants knew or had strong reason to expect that was the case. See Applied
Optoelectronics, 2019 WL 6111516, at *10 (“Plaintiff’s allegations create an inference that . . . AOI’s declining
committed orders from Amazon were caused by AOI’s production and quality control problems”); Lormand, 565 F.3d
at 239 (for falsity, plaintiff entitled to “all reasonable inferences”). The Company’s statement that it did not know
why Google short paid the invoices (Def. Br. at 6, 18) was not made until October 15, 2024, almost five months after
this case was filed. That ten months after receiving the short pay notice the Company still did not know why Google
refused to pay is not credible and, at best, would show deliberate indifference.
5
  Defendants’ March 26, 2024 statements regarding the Company being well-positioned to continue its growth
trajectory were also misleading. ¶¶111, 113. With just five days left in Q1 2024, Defendants already knew that the
quarter was an unmitigated disaster. ¶60 (showing Q1 revenues down nearly 50% from Q4 2023); ¶¶112, 117.

                                                         12
    Case 4:24-cv-01940            Document 45            Filed on 03/14/25 in TXSD               Page 20 of 39




were understandably anxious to learn the basis for this drastic and exciting move. Defendants’

explanations, however, only told half the story and were materially misleading when made. ¶96.

In truth, the Company’s Q3 2023 success and FY 2023 outlook was built on a precarious

foundation—one that Defendants knew was at serious risk of collapsing. Id. At the time, Direct

Digital was experiencing a crisis with Colossus’s sell side platform. Id. The Company’s second

largest customer, industry behemoth The Trade Desk, had in mid-2023 observed Colossus

systematically presenting mis-declared user IDs and partially blocked the SSP across its platform.

¶¶53, 68. Direct Digital was able to offset its loss of The Trade Desk business by relying on its

largest customer, Google. ¶60. But this near-total reliance on Google came with an additional

risk. Like The Trade Desk, Google was one of the world’s most sophisticated DSPs. ¶53. If and

when Google learned that Colossus’s platform was mis-declaring user IDs, the resulting disruption

to Direct Digital’s business would be devastating. 6

         Having chosen to discuss Direct Digital’s operational/platform strength (¶¶95, 97, 99-100),

customer relationships (¶100), and resultant revenue (¶¶95, 99), Defendants had a duty to disclose

the known “significant and material risk” to its platform and largest customers. See ¶101; Matrixx

Initiatives, Inc. v. Siracusano, 563 U.S. 27, 47 (2011) (disclosure required where “information

indicat[ed] a significant risk to its leading revenue-generating product”); Cassava, 2023 WL

3442087, at *7 (disclosure of questionable data required when touting scientific study of primary

drug). Thus, whether Direct Digital’s financial guidance was theoretically achievable when



6
  Defendants suggest that The Trade Desk never communicated the issue and they remained ignorant of the associated
risk. Def. Br. at 15. Yet, when Direct Digital’s second largest customer stopped buying “Colossus inventory,” except
where there are “direct programmatic deal[s],” the only reasonable inference is that the Company knew. Plotkin v. IP
Axess Inc., 407 F.3d 690, 698 (5th Cir. 2005) (“allegations of later-emerging facts can, in some circumstances, provide
warrant for inferences about an earlier situation”). This is particularly true since Colossus’s revenues were recognized
in real time. ¶50. Moreover, it is implausible that The Trade Desk would resume its business even at a lower volume
(¶68) if Direct Digital did not know about the issue and attempt to address it.

                                                          13
    Case 4:24-cv-01940           Document 45           Filed on 03/14/25 in TXSD              Page 21 of 39




initially issued, Defendants nonetheless “concealed the extent of the risk the company was facing”

in connection with the ongoing mis-declaration issues. Roofers Local No. 149 Pension Fund v.

Amgen Inc., 2024 WL 4354809, at *12 (S.D.N.Y. Sept. 30, 2024) (despite describing potential

IRS liability as “substantial,” disclosure of actual financial exposure needed to be clear and

complete).

        Defendants claim these misstatements are inactionable, immaterial puffery. See Def. Br.

at 9. Yet, otherwise vague statements are actionable when contextually connected to more concrete

misstatements. Plotkin, 407 F.3d at 698–699. Defendants’ challenged statements here explained

the increased guidance, referencing factors such as a quality “platform” or “infrastructure,” strong

“operating leverage,” and “inventory quality,” and were “designed to create an impression that a

substantial payoff would soon flow from” them. See Plotkin, 407 F.3d at 698; ¶¶95–97, 99–101.

Because these statements accompanied and explained the 50% increase in FY 2023 guidance, they

were important to reasonable investors. 7 Six Flags, 58 F.4th at 220 (statements describing

construction as “continuing” or “progressing nicely” are not immaterial puffery since they

supported the company’s earlier projections). 8

        Defendants further challenge the invalid traffic (“IVT”) allegations (¶97), faulting Plaintiff

for not alleging that the mis-declaration issues constituted a particular type of IVT, such as

“artificially inflated impressions.” Def. Br. at 11–12. But the Company’s discussion of IVT is not

so limited, and Google’s description of the issue aligns with Defendants’ misleading disclosures.

See ¶72 (describing Colossus’s mis-declaration problem, “our teams identified sources of invalid


7
  In that respect, this case is distinguishable from Loc. 210 Unity Pension & Welfare Funds v. McDermott Int’l Inc.,
2015 WL 1143081, at *7–*8 (S.D. Tex. Mar. 13, 2015) (Hoyt, J.) (Def. Br. at 1–2, 10) where the indefinite statements
were not tied to more concrete assertions.
8
  Smith’s November 9, 2023 statement that Defendants were committed to executing Q3’s growth initiatives in Q4
(¶94) is material and plausibly rendered false by the fact that Defendants immediately reversed course in
“November/December.” Plotkin, 407 F.3d at 698 (then-current state may be inferred from later-emerging facts).

                                                        14
    Case 4:24-cv-01940             Document 45           Filed on 03/14/25 in TXSD                Page 22 of 39




traffic that do not adhere to our guidance”); ¶55 (“invalid traffic ‘is any activity that doesn’t come

from a real user with genuine interest’ and may include ‘falsely represented inventory’”). And

while Plaintiff does not dispute that the Company reported a 1% IVT rate or touted its

“sophisticated technology” (Def. Br. at 11–12), he alleges that these statements were materially

misleading because the technology failed to detect the mis-declaration issue, which The Trade

Desk itself ultimately identified. ¶¶68, 98. Further, the Company’s efforts to address IVT were

far less effective than implied, as “invalid traffic issues with one of its most prominent DSP

customers [The Trade Desk] had already impacted performance and posed a significant and

material risk to the Company’s purported growth trajectory and its FY 2023 guidance.” ¶98.

         Defendants also contend that some of their statements (¶¶95, 99) are forward-looking and

protected by the PSLRA’s safe harbor. Def. Br. at 19–21. However, the then-existing platform

issues “represented a significant and material risk to Direct Digital’s purported growth trajectory

and to its FY 2023 guidance.” ¶¶96, 98, 101. These statements, which are misleading due to the

omission of present facts, are therefore not forward-looking. Applied Optoelectronics, 2019 WL

6111516, at *10 (omissions of “present facts” undercutting projections not forward-looking);

Curran v. Freshpet, Inc., 2018 WL 394878, at *4 (D.N.J. Jan. 12, 2018) (same); Dougherty v.

Esperion Therapeutics, Inc., 905 F.3d 971, 983 (6th Cir. 2018) (safe harbor inapplicable where

misleading nature of statements was discernible when they were made). 9

         Finally, Defendants argue that many of the statements (¶¶94–95, 99–100) are inactionable



9
  Even if considered forward-looking, Defendants’ cautionary language regarding general “operational or performance
issues” or “customer concentration” (Def. Br. at 20–21) would not suffice as a substitute for a risk disclosure that is
specifically tailored to address the already-partially-materialized risk to the Company’s relationships with its key
customers. Southland Sec. Corp. v. INSpire Ins. Sols., Inc., 365 F.3d 353, 372 (5th Cir. 2004) (risk warning must
provide “substantive company-specific warnings based on a realistic description of the risks applicable to the particular
circumstances, not merely [] boilerplate . . . risk factors”). Plaintiff’s allegations further support a strong inference
that the statements were made with actual knowledge that they were misleading. See section IV, below.

                                                          15
     Case 4:24-cv-01940          Document 45          Filed on 03/14/25 in TXSD             Page 23 of 39




opinions. Def. Br. at 22–23. To the extent they may be characterized as such, Plaintiff’s

allegations demonstrate that they did not “fairly align[] with the information in the [Defendants’]

possession at the time,” including the known risks to the Company’s relationships with its largest

customers due to the ongoing platform issues. ¶¶96, 101; Omnicare, 575 U.S. at 189. Moreover,

Plaintiff’s allegations “show[] that Defendants either did not actually hold the opinion they . . .

stated or that Defendants omitted material facts that conflicted with what a reasonable investor

would take from the statement itself.” Applied Optoelectronics, 2019 WL 6111516, at *10.

         C.      December 5, 2023 through May 10, 2024: False and Misleading
                 Statements Made After Colossus’s Suspension by Google

                 1.       December 5, 2023 & January 9, 2024: Material Omissions
                          Regarding FY 2024 Growth and Guidance

         Although Direct Digital was plagued with platform issues since mid-2023 (¶68), it still

managed significant growth in Q3 2023. ¶60. Its success was driven by Google-related revenues

more than doubling quarter over quarter. Id. For Q3 2023, Google accounted for $48.8 million of

Colossus’s $51.6 million in revenue. Id. The known but undisclosed risk that, like The Trade

Desk, Google would eventually identify the issue manifested itself in late 2023. ¶72; see also ¶75

(“after Thanksgiving”). 10 Then, Google discovered the Company’s systematic mis-declaration of

user IDs and “took prompt action” to suspended Colossus from its platform. ¶¶72–75. Google

would later reinstate Colossus, but at a much lower volume. ¶¶11, 71.

         While Defendants now suggest the mis-declaration issue was fully rectified (Def. Br. at

16), Direct Digital admitted that it did not know how to correct the issue. ¶73. This is further

substantiated by the fact that Adalytics, “over the course of several months,” and at least three


10
   Given that the Q4 invoice amounts Google refused to pay after issuing refunds to its advertisers is so large, a
reasonable inference is that “late 2023” and “after Thanksgiving” means shortly after Thanksgiving and prior to
December 5, 2023. See ¶¶71–72, 75; compare Def. Appx. B-037 (“last fall”); Lormand, 565 F.3d at 239 (for falsity,
plaintiff entitled to “all reasonable inferences”).

                                                       16
  Case 4:24-cv-01940         Document 45        Filed on 03/14/25 in TXSD          Page 24 of 39




other publishers were still able to document Colossus’s systematic mis-declaration of user IDs in

May 2024. ¶¶67, 69. The drop in Google revenues from $30.9 million in Q4 2023 (after deduction

of the short pay) to just $15.1 million in Q1 2024 also shows that the mis-declaration issue had not

been fully resolved. ¶60; Plotkin, 407 F.3d at 698 (“allegations of later-emerging facts can, in

some circumstances, provide warrant for inferences about an earlier situation”); accord Masel v.

Villarreal, 924 F.3d 734, 750 (5th Cir. 2019). Further, because Colossus booked its revenue “in

real-time,” meaning immediately “when an ad [was] delivered or displayed in response to a

winning bid request,” the drop in revenues would have been obvious to Defendants. ¶50.

       After Google’s suspension, Defendants could have skipped their Boca Raton and Orlando

publicity tour and opted to remain silent on December 5, 2023 and January 9, 2024. ¶¶102–103,

105-106. Once they “voluntarily chose to speak publicly” on the topics, however, “they were

required to speak the full truth and accurately inform, rather than mislead.” In re ArthroCare

Corp. Sec. Litig., 726 F. Supp. 2d 696, 716 (W.D. Tex. 2010). Thus, when Defendants touted the

Company’s growth trajectory and reaffirmed guidance, they misled investors by not disclosing the

full-blown crisis with its sell side platform and largest customers, and the associated risks. See

¶¶104, 107 (“These undisclosed issues represented a significant and material risk to Direct

Digital’s purported growth trajectory and to its FY 2023 guidance.”); Hutchins v. NBTY, Inc., 2012

WL 1078823, at *5 (E.D.N.Y. Mar. 30, 2012) (omission that company’s “biggest wholesale

customer[] was soliciting competitive bids for the first time in 10 years” rendered positive financial

disclosures misleading); Six Flags, 58 F.4th at 214 (plaintiff provided “factual allegations about

inadequate construction to explain why a reassurance like ‘our parks are progressing nicely

towards their anticipated opening dates’ is misleading, even if still theoretically possible (though

highly unlikely)”).


                                                 17
     Case 4:24-cv-01940           Document 45            Filed on 03/14/25 in TXSD               Page 25 of 39




         As explained in section III(B), above, these misstatements by omission (¶¶103, 106) are

not forward-looking. Def. Br. at 19 n.14; Applied Optoelectronics, 2019 WL 6111516, at *10

(omissions undercutting projections not forward-looking). Even if they were, they would not be

protected by the safe harbor because the statements were neither “identified as a forward-looking

statement[s]” nor “accompanied by meaningful cautionary [language].”                           15 U.S.C. § 78u-

5(c)(1)(A)(i). Because any risk “factors were not [Direct Digital]-specific and were not tailored

to [Direct Digital]’s circumstances at the particular time” and were “generic and formulaic,” they

are insufficient to warn investors. Delaware Cnty. Emps. Ret. Sys. v. Cabot Oil & Gas Corp., 2024

WL 83503, at *12 (S.D. Tex. Jan. 8, 2024); Rubinstein v. Collins, 20 F.3d 160, 171 (5th Cir. 1994)

(“To warn that the untoward may occur when the event is contingent is prudent; to caution that it

is only possible for the unfavorable events to happen when they have already occurred is deceit.”).

In any event, the statements were allegedly made with actual knowledge that they were misleading.

See section IV, below. 11

         With FY 2023 complete, on January 9, 2024, Walker also chose to speak about the

Company’s accelerated Q4 2023 efforts to phase out cookies (¶105) but failed to “disclose the

negative financial impact in Q4 2023 of that effort” which “represented a significant and material




11
   If considered opinions (Def. Br. at 22), Defendants’ statements about guidance would be current opinions. See W.
Palm Beach Firefighters’ Pension Fund v. Conagra Brands, Inc., 495 F. Supp. 3d 622, 655 (N.D. Ill. 2020) (that a
defendant “expects” “sales to be in the range of $740 million to $745 million” is not a forward looking statement; it
is a statement of current opinion; finding “[a] reasonable investor could infer that while the exact range of net sales
was still being finalized, [the defendant] had enough information to make the challenged statements of fact”);
Bielousov v. GoPro, Inc., 2017 WL 3168522, at *4 (N.D. Cal. July 26, 2017) (“we believe” that the company is still
on track to make guidance is a “statement of [] present opinion”); ¶103 (“we expect . . . to be within that range”).
Plaintiff’s allegations show any purported opinion did not “fairly align[]” with “the information in the [Defendants’]
possession at the time” or the “inquiry into or knowledge” a reasonable investor would expect. Omnicare, 575 U.S.
at 189. With FY 2023 complete and having experienced the worst-case scenario with Google’s Q4 2023 suspension,
a reasonable investor would expect Defendants to have tempered any FY 2023 projection and, at minimum, disclosed
the specific, now glaring platform and customer-related risks associated with the foregoing. Any opinions also include
“the allegedly false embedded fact” that the Company’s guidance was not at serious risk due to such platform and
customer issues. Applied Optoelectronics, 2019 WL 6111516, at *10.

                                                         18
     Case 4:24-cv-01940           Document 45            Filed on 03/14/25 in TXSD               Page 26 of 39




risk to Direct Digital’s purported growth trajectory and to its FY 2023 guidance.” ¶107. Although

Defendants say Plaintiff did not allege when the financial impact became apparent (Def. Br. at 14),

Walker admitted that “[i]n the fourth quarter” “we noted softer demand tha[n] our revised guidance

called for” and instead of stepping on the gas, the Company hit the brakes, “proactively beg[inning]

our transition off of cookies.” ¶¶113, 116. As a result, the Company did not add any new

publishers in Q4 2023, “opting to keep new publishers in beta during the transition period.” 12 See

id. “A reasonable investor could infer that while the exact range of [lost revenues] was still being

finalized, [Walker] had enough information to make the challenged statements of fact.” Conagra,

495 F. Supp. 3d at 655; ¶50 (revenues tallied in real-time). Accordingly, even if Defendants had

not yet precisely tallied the lost revenues, they still needed to disclose the likely impact of their

new strategy when reaffirming FY 2023 guidance for their statements not to be misleading.

¶107. 13

                  2.       February 1, 2024: Misleading Statements Concerning Direct
                           Digital’s Earlier “Milestones”

           On February 1, 2024, prior to Direct Digital releasing its FY 2023 financial results, the

Pulse 2.0 website posted an interview in which Walker was asked to opine “what have been some

of [Direct Digital’s] most significant milestones.” ¶108. He responded that “in Q3 we raised our

guidance again to a range of $170 million to $190 million for FY 2023.” Id. 14 Plaintiff alleges


12
  Plaintiff’s allegations are not “fraud by hindsight.” Def. Br. at 15. In the Fifth Circuit, “fraud-by-hindsight issues
arise in the context of the scienter factor, not the misrepresentation factor.” Villarreal, 924 F.3d at 750; Lormand,
565 F.3d at 254 (“This is not the classic fraud by hindsight case where a plaintiff alleges that the fact that something
turned out badly must mean defendant knew earlier that it would turn out badly.”).
13
  Walker’s earlier December 5, 2023 statements regarding the cookie transition were also misleading because
Defendants had already decided to accelerate the transition, and would have known there would be negative financial
consequences as a result. ¶¶79, 82, 102.
14
  Although Defendants claim that the statement is forward-looking (Def. Br. at 19 n.14), the question was what “have
been” significant Company milestones which Walker identified as including having previously “raised” guidance in
Q3 2023. ¶108. Regardless, the statements were neither “identified as a forward-looking statement[s]” nor
“accompanied by meaningful cautionary [language].” See ¶108; 15 U.S.C. § 78u-5(c)(1)(A)(i).

                                                          19
  Case 4:24-cv-01940            Document 45           Filed on 03/14/25 in TXSD             Page 27 of 39




such statements indicated to reasonable investors 15 that Direct Digital’s “milestone” 2023

guidance was reasonable, had been largely met or at least was not at considerable risk of being

badly missed, and the Company was continuing its strong growth trajectory as expected. ¶110. It

was therefore misleading for Walker to trumpet the raising of FY 2023 the guidance, without

qualification, without disclosing facts seriously undermining any claim that FY 2023 guidance was

a milestone, or at least a positive milestone as investors were led to believe. ¶¶15, 110; see

Conagra, 495 F. Supp. 3d at 655 (“while the exact range of net sales was still being finalized”

after quarter end, “a reasonable investors could infer” defendant “had enough information” to

support its optimistic statements). Such undisclosed facts include: (i) the Q4 Google suspension

(¶71); (ii) the Q4 Google short pay (which exceeded $8.8 million) (¶87); (iii) the “softer demand”

in Q4 than “revised guidance called for” (¶113); (iv) the impact of the November/December

cookie-less transition acceleration (¶¶102, 113); and (v) the related decision not to add any new

publishers in Q4 2023 (¶¶113, 116). “These undisclosed issues represented a significant and

material risk to Direct Digital’s purported growth trajectory and to its FY 2023 guidance.” ¶110.

Consequently, “the[se] excluded fact[s] show[] that [Walker] lacked the basis for making those

statements that a reasonable investor would expect.” Omnicare, 575 U.S. at 196; see also Applied

Optoelectronics, 2019 WL 6111516, at *10 (the “Complaint alleges that Amazon’s drop in demand

was caused by [defendant’s] manufacturing problems, although Defendants omitted these facts

from investors. [It] therefore shows that Defendants either did not actually hold the opinion they

orally stated or that Defendants omitted material facts that conflicted with what a reasonable




15
   Whether Defendants’ omissions rendered their opinion statements misleading is an objective determination which
focuses on a reasonable investor. Omnicare, 575 U.S. at 188.

                                                       20
     Case 4:24-cv-01940           Document 45            Filed on 03/14/25 in TXSD               Page 28 of 39




investor would take from the statement itself.”). 16

         Defendants counter that Plaintiff is required to provide the actual date of the interview

quoted in the February 1, 2024 article. Def. Br. at 17. However, there is no such requirement

under Rule 9(b) or the PSLRA in the Fifth Circuit. INSpire Ins., 365 F.3d at 372 (stating “Rule

9(b) does not require that a specific date and time always be alleged as to each

misrepresentation”). 17 The court’s holding in Crutchfield v. Match Grp., Inc., 529 F. Supp. 3d

570, 591 (N.D. Tex. 2021), upon which Defendants rely (Def. Br. at 17), is fully consistent with

Fifth Circuit authority. In Crutchfield, the defendant was not interviewed for the relevant

December 2, 2019 article. 529 F. Supp. 3d at 591. Instead, that article vaguely claimed that the

defendant “has said” the statement. See Pl. Appx. A, Exh. A-1 (Crutchfield, ECF 39 (excerpt),

Ex. 4 at Appx. 263). When repleaded, the plaintiff clarified that the statement was lifted from a

December 21, 2018 article. See id., Exh. A-2 (Crutchfield, ECF 51 at ¶¶6, 104). The court

accepted that allegation without requiring allegations of when the actual interview took place. See

id., Exh. A-3 (Crutchfield, ECF 63). 18

         In any event, on February 2, 2024, the day after the Pulse 2.0 article was published, Direct

Digital’s LinkedIn social media page promoted the Pulse 2.0 interview, provided a link to the



16
  Further, one month after the close of FY 2023, Walker knew or was reckless in not knowing the likely amount of
the Company’s FY 2023 revenues, which are automatically recognized in real time when an ad is displayed. ¶¶50,
11; compare Denny v. Canaan Inc., 2023 WL 2647855, at *13 (S.D.N.Y. Mar. 27, 2023) (Def. Br. at 17) (“Plaintiffs
never allege how Defendants would have this information”).
17
  See also Carlucci v. Han, 886 F. Supp. 2d 497, 518 (E.D. Va. 2012) (plaintiffs “need not match each alleged
misrepresentation with a specific date” to satisfy the PSLRA); In re Nat’l Golf Props., Inc., 2003 WL 23018761, at
*6 (C.D. Cal. Mar. 19, 2003) (Rule 9(b) and the PSLRA’s particularity requirements satisfied where “plaintiffs have
detailed . . . the dates these statements were made or became public”).
18
   Rein v. Dutch Bros, Inc., 2024 WL 3105004, at *22 (S.D.N.Y. June 24, 2024) (Def. Br. at 17) does not concern the
requisite specifics of the statement being pleaded. Instead, it concerns pleading falsity of a statement, such that the
plaintiff must plausibly allege that the company had experienced the adverse consequences at the time of such
statement. Id. at *22. Here, a plaintiff-favorable inference (and the most plausible one) is that the article, which is
entirely a reproduction of Walker’s quoted answers to a list of questions, was published shortly after Walker provided
his answers. See Def. Appx. B-117 to B-123.

                                                         21
  Case 4:24-cv-01940           Document 45         Filed on 03/14/25 in TXSD   Page 29 of 39




article, and thanked Pulse 2.0 “for diving into the story behind Direct Digital Holdings.” ¶109.

Instead of correcting Walker’s materially misleading statements, the Company promoted them and

provided significant, additional credibility to the reporting. Cf. Backman v. Polaroid Corp., 910

F.2d 10, 16–17 (1st Cir. 1990) (“Obviously, if a disclosure is in fact misleading when made, and

the speaker thereafter learns of this, there is a duty to correct it.”).

                3.      May 10, 2024: False Statements Concerning the Company’s Q1
                        2024 Operations and Performance

        On May 10, 2024, responding to reports that Direct Digital had been blocked by The Trade

Desk and Google for systematically mis-declaring user IDs, Defendants tried to reassure investors

that the Company was not in any financial peril. ¶¶18, 118. Direct Digital stated that it “remains

operationally well-positioned and financially strong with estimated 2023 FY earnings of $157

million and is experiencing continued growth into 2024.” ¶119. With Q1 2024 having concluded

six weeks earlier, Walker assured investors “[t]he financial solvency of our company is very

sound,” it remains profitable, and Q1 2024 performance is “up 20% year over year.” ¶118. In

reality, Direct Digital did not remain profitable. In Q1 2024, for which Direct Digital’s Form 10-

Q was due in less than a week, the Company experienced a significant quarterly net loss of $3.8

million, down from the $2.0 million net income for FY 2023 the Company had reported weeks

earlier. ¶120. Rather than “20% year over year” growth or “continued growth into 2024,” Direct

Digital’s revenues grew less than 5% year over year, with quarterly revenues dropping off a cliff,

from $41 million in Q4 2023 to $22.3 million in Q1 2024. ¶120.

        Defendants respond that the “up 20% year over year” referenced Colossus’s Q1 2024

revenue growth and that any misrepresentation was due to the reporter’s imprecise paraphrasing.




                                                    22
     Case 4:24-cv-01940             Document 45           Filed on 03/14/25 in TXSD                 Page 30 of 39




Def. Br. at 12–13. 19          But most of Walker’s statements are exact quotes.                      See ¶¶118–119.

Defendants’ real quarrel is not whether Walker was “the maker of [the] statement[s]” but whether

the statements were accurately reported, a question of fact not appropriate for resolution on a

motion to dismiss. See Janus Capital Group, Inc. v. First Derivative Traders, 564 U.S. 135, 142

(2011) (“One ‘makes’ a statement by stating it.”); Six Flags, 58 F.4th at 221 (because this question

“[is] disputed, dismissal is not appropriate”). 20 All the same, paraphrased statements attributed to

a specific defendant satisfy the PSLRA’s heightened pleading standards. In City of Warren Police

& Fire Ret. Sys. v. Prudential Fin., Inc., the Third Circuit found that the district court erred in

rejecting a defendant’s paraphrased false statement appearing in an analyst report. 70 F.4th 668,

687–688 (3d Cir. 2023). The Court found that because “contents of [the defendant’s] statement

and its attribution to him are not based on information and belief, and they do not rely on

confidential sources,” even under the PSLRA “nothing more is needed to accept those allegations

as true at this stage.” Id. at 688 (citing Janus, 564 U.S. at 142–141). 21

           Still, Defendants’ claim that Walker was speaking of Colossus’s financial situation, and

that the reporter made a mistake, is implausible. Def. Br. at 12–13. The reporter specifically

references Direct Digital’s stock drop in connection with stating that “Walker denounced any




19
     Defendants do not similarly argue that Colossus had “remain[ed] profitable.” Def. Br. at 13–14; ¶120.
20
  In the Fifth Circuit it is perfectly appropriate for even a plaintiff to allege their account of a defendant’s oral false
representations. Villarreal, 924 F.3d at 739, 750 (upholding allegations of a misleading oral statement “during a
chance encounter” under the PSLRA). There is no need for a transcript, even under the PSLRA. See id.
21
   Defendants’ cases are distinguishable. Meitav Dash Provident Funds & Pension Ltd. v. Spirit AeroSystems
Holdings, Inc., 2022 WL 377415 (N.D. Okla. Jan. 7, 2022) involved a newspaper report stating what the Governor
claimed that Spirit’s CEO (the defendant) had said to her. Id. at *11. The defendant was speaking to the Governor
and did not knowingly provide statements to the newspaper such that he did not control whether and how the
statements would be communicated. Id. In re Fisker Auto. Holdings, Inc. S’holder Litig., 2015 WL 6039690, at *17
(D. Del. Oct. 15, 2015) was based in part on the fact that the defendant was not quoted such that it was not apparent
what part of the statement, if any, was “directly attributable” to him. In re Cryolife, Inc. Sec. Litig., 2005 WL 8155579
(N.D. Ga. June 17, 2005) does not involve PSLRA pleading at all. Id. at *18. Instead, summary judgment was granted
due to “inadmissible hearsay” and a failure to provide “evidence” that a defendant made the statement at issue. Id.

                                                           23
     Case 4:24-cv-01940             Document 45            Filed on 03/14/25 in TXSD                 Page 31 of 39




suggestions that Colossus’ ID mismatch was related to the holding company’s financial situation.”

Def. Appx. B-038. Walker then touted the “company’s” sound solvency and 20% growth. Id.

The author would not reference the “holding company” and its stock price if Walker’s statement

only concerned Colossus. Tellingly, the next part of the article provides “Direct Digital’s full

statement” which speaks in terms of “DDH” (Direct Digital Holdings). Id. 22

         For these reasons, Plaintiff has satisfied Rule 9(b) and the PSLRA, and adequately pleaded

false statements and statements rendered misleading by the omission of material facts.

IV.      THE TOTALITY OF PLAINTIFF’S ALLEGATIONS GIVE RISE TO A STRONG
         INFERENCE OF SCIENTER

         A.        The Court Must Consider Plaintiff’s Allegations Collectively

         To plead scienter, a plaintiff must allege facts giving rise to a strong inference of either

intentional or reckless behavior. Six Flags, 58 F.4th at 214. A plaintiff adequately pleads a “strong

inference” of scienter if “a reasonable person would deem the inference of scienter cogent and at

least as compelling as any opposing inference one could draw from the facts alleged.” Tellabs,

Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 324 (2007). “Allegations of circumstantial

evidence justifying a strong inference of scienter will suffice.” Lormand, 565 F.3d at 251. While

courts may consider plausible nonculpable explanations, they must assume the truth of plaintiff’s

allegations in undertaking a comparative analysis. Tellabs, 551 U.S. at 323. The question is

“whether all of the facts alleged, taken collectively, give rise to a strong inference of scienter, not


22
  Direct Digital’s statement about maintaining “a solid financial relationship with our partners” (¶119) was misleading
and omitted material facts since, at the time, the Company’s relationship with its largest partner and customer—
Google—had been severely damaged due to ongoing technological issues with Colossus. Given the ongoing nature
of platform and customer issues, and the related effect on Direct Digital’s financial situation, it could not fairly be said
that the Company was “operationally well-positioned,” “financially strong,” or that its financial solvency was “very
sound.” ¶¶118–120. Six weeks after the close of Q1 2024, Defendants knew that Q1 2024 revenues had plummeted
45% from Q4 2023. ¶¶50, 120. These types statements are not puffery (Def. Br. at 13), as explained in section III(B),
above. Nor are they inactionable opinions (Def. Br. at 22), since they did not “fairly align[]” with “the information in
the [Defendants’] possession at the time” or the “inquiry into or knowledge” a reasonable investor would expect.
Omnicare, 575 U.S. at 189.

                                                            24
  Case 4:24-cv-01940         Document 45        Filed on 03/14/25 in TXSD          Page 32 of 39




whether any individual allegation, scrutinized in isolation, meets that standard.” Id.

       B.      Defendants Knew the Primary Reason for the Revenue Shortfall
               When They Announced FY 2023 Results on March 26, 2024

       When Defendants announced FY 2023 revenue on March 26, 2024, they knew that more

than $8.8 million of the $12.9 million shortfall was from the Google short pay but failed to disclose

it. ¶¶111–117. Instead, they volunteered two lesser, transitory reasons, which they falsely

described as the “two primary factors” for the miss. Id. Certainly, having chosen to speak in detail

on the subject, they had a duty to know. Matrixx, 563 U.S. at 49 & n.15 (defendant’s statement

that drug did not cause specific medical condition, when defendant did not know whether this was

true, supported scienter). Defendants’ conduct, therefore, fits perfectly into the definition of

“severe recklessness,” that is, their omission was an “extreme departure from the standards of

ordinary care, [presenting] a danger of misleading buyers or sellers which [was] either known to

the defendant[s] or [was] so obvious that the defendant[s] must have been aware of it.” Nathenson

v. Zonagen Inc., 267 F.3d 400, 408 (5th Cir. 2001). Thus, “the misleading nature of [Direct

Digital]’s press release [and public statements are] sufficient to render the inference of scienter at

least as compelling as the inference suggested by [Defendants].” Matrixx, 563 U.S. at 49 n.15.

       C.      Plaintiff Alleges Additional Circumstantial Evidence of Scienter

       Plaintiff alleges additional circumstantial evidence of intent or recklessness that goes

beyond the allegations found by the Fifth Circuit to support a “strong inference.” In Plotkin, the

defendants allegedly knew that the defendant company’s highly touted new customers “were not

likely to be able to make the payments they contracted to make.” 407 F.3d at 700. The Court

found it was “reasonable to assume, given the importance of these deals to the company” that the

defendant company “would have familiarized itself with the financial condition of [the customers]

and would have discovered details about their poor financial condition.” Id. Given this reasonable

                                                 25
  Case 4:24-cv-01940         Document 45        Filed on 03/14/25 in TXSD          Page 33 of 39




inference, the district “court was incorrect to fault [plaintiff] for failing to allege specific facts

conclusively proving that [defendant] knew this information.” Id. The court further credited

allegations that the defendant company “has referred in inconsistent ways to shipments of its

product under the agreement,” thereby “strengthening the permissible inference that [it] intended

to deceive or mislead its investors.” Id. Based upon these allegations, the court found a strong

inference of scienter. Id. at 699–700.

       Similarly, “[i]t is reasonable to assume, given the importance of [Google and The Trade

Desk] to the [C]ompany, that [Defendants] would have familiarized [themselves] with” the severe

operational issues affecting these customers.       Id. at 700.   The risks associated with these

developments were so extreme that Defendants “must have been aware of the danger of misleading

the investing public.”    Id. at 697; see NBTY, 2012 WL 1078823, at *6 (finding “strong

circumstantial evidence of” scienter “given [defendants’] failure to disclose material adverse

information concerning the company’s largest customer”). Plaintiff also alleges Defendants

provided varying explanations for Direct Digital’s disappointing FY 2023 revenue, with the

Company citing the cookie transition and lower-than-anticipated demand on March 26, 2024, but

much later pointing to the Google short pay. ¶¶87, 113. This strengthens the inference of

conscious or severely reckless since “it is curious why this [incredibly] important . . . detail was

omitted in the earlier [statements].” Plotkin, 407 F.3d at 700. And, after first denying the Google

suspension, Defendants later conceded that it had occurred (but only after Google publicly

confirmed it). ¶¶72–73. Defendants also first blamed the user ID mis-declarations on Bidswitch

but then admitted that it occurred on the Colossus’s platform. ¶¶70, 73.

       Plaintiff’s allegations also meet the four core operations factors courts consider in assessing

the strength of the scienter inference. Six Flags, 58 F.4th at 219; Def. Br. at 29. First, Colossus is


                                                 26
     Case 4:24-cv-01940            Document 45           Filed on 03/14/25 in TXSD                Page 34 of 39




alleged to be extremely small, having only fifteen to twenty employees. ¶75; Nathenson, 267 F.3d

at 425 (small size of company, 32 to 35 employees, contributes to inference of scienter). 23

         Second, Colossus’s platform issues, and related suspensions by Google and The Trade

Desk, put the Company’s continued vitality at serious risk. With Google alone accounting for

$48.7 million of $59.4 million in total Company Q3 2023 revenues, the loss of its business would

be devastating. ¶60; see Nathenson, 267 F.3d at 425 (that a company’s future prospects are

substantially dependent on one product supports scienter); Dorsey v. Portfolio Equities, Inc., 540

F.3d 333, 342 (5th Cir. 2008) (that company essentially had one customer added to scienter

inference). As previously noted, “[w]hen two of the biggest players in the market essentially

blacklist your subsidiary, it’s not just a bump in the road—it’s a full-blown crisis.” ¶¶74, 86.

         Third, the omitted facts were readily apparent to the speakers. Walker and Diaz frequently

commented on the Company’s operations, customer relationships, cookie-less transition, and they

provided the purported reasons for the FY 2023 miss. ¶¶100, 102, 105, 111, 113-115; SEB Inv.

Mgmt. AB v. Endo Int’l, PLC, 351 F. Supp. 3d 874, 906 (E.D. Pa. 2018) (scienter pled where

executives made “public comments regarding the clinical data” because the “officers were

speaking as authoritative sources”). They therefore had a duty to know. See Six Flags, 58 F.4th

at 219 (defendants’ comments on the timelines “impl[ied] they knew the details of the progress”);

Nathenson, 267 F.3d at 425 (patent was acquired in April 1994, “so there was ample opportunity

to become familiar with it prior to June 1996”). Moreover, the critical operational issues would

have been obvious to the Company’s top officers and majority owners. ¶¶29–32; Dorsey, 540


23
   Defendants cite to Direct Digital’s additional employees on the buy side (Huddled Masses and Orange 142) to argue
for a lesser inference. Def. Br. at 29. Yet “[t]his case involves Direct Digital’s sell-side Colossus platform” (Def. Br.
at 3), which accounted for 94% of its revenues (¶60) and virtually all of its growth (¶¶58, 60). Even at 90 employees,
the Company is very small. See Backe v. Novatel Wireless, Inc., 642 F. Supp. 2d 1169, 1173, 1186 (S.D. Cal. 2009)
(“small company” with 300 employees supports inference of scienter); Curry v. Hansen Med., Inc., 2012 WL 3242447,
at *11 (N.D. Cal. Aug. 10, 2012) (“less than 200 employees”).

                                                          27
  Case 4:24-cv-01940          Document 45         Filed on 03/14/25 in TXSD        Page 35 of 39




F.3d at 342 (president, vice-president, and directors in small company would be aware of

transactions); Nathenson, 267 F.3d at 424–425 (president and CEO would know).                   While

Defendants suggest they needed time to discover the shortfall (Def. Br. at 21–22), they would have

immediately seen the revenue drop off since Colossus’s revenues are recognized the instant an ad

is displayed. ¶50.

        Fourth, as discussed above, Defendants’ initial denials and statements regarding the

“primary factors” causing the FY 2023 miss were inconsistent.             Plotkin, 407 F.3d at 700

(inconsistent statements “strengthen[] the permissible inference that [defendant] intended to

deceive or mislead [] investors”); ArthroCare, 726 F. Supp. 2d at 711–712 (such denials can

indicate that a defendant was “either sufficiently familiar with the facts, or severely reckless in not

being familiar, to be in a position to issue a denial.”).

        There are additional facts contributing to a strong inference of scienter. That CEO Walker

and CFO Diaz each made the same misrepresentation regarding the two primary reasons for the

FY 2023 shortfall (while each leaving out the actual primary reason), supports that their

coordinated effort to mislead was intentional. ¶¶111, 113–115. That that Defendants waited nearly

nine months, until October 15, 2024, to disclose the Q4 2023 short pay further supports an

inference of Defendants’ intent to mislead and withhold material information that would have

earlier called into doubt Direct Digital’s purported growth trajectory. ¶¶87, 123–124; Menaldi v.

Och-Ziff Cap. Mgmt. Grp. LLC, 164 F. Supp. 3d 568, 585 (S.D.N.Y. 2016) (scienter found where

defendants “waited to disclose” investigations). The resignation of Direct Digital’s auditor on

April 17, 2024, two weeks after the Form 10-K deadline, due to its inability to verify impressions

data (for which valid traffic was exaggerated due to Colossus’s mis-declaration problem) and

reports for publishers (who were paid for invalid traffic as a result), further supports that the


                                                  28
     Case 4:24-cv-01940         Document 45           Filed on 03/14/25 in TXSD             Page 36 of 39




Company, and certainly its CFO and CEO, knew how serious the platform issues were for some

time but purposefully continued to hide them from investors. ¶¶71, 87, 123, 125, 129; Yannes v.

SCWorx Corp., 2021 WL 2555437, at *6 (S.D.N.Y. June 21, 2021) (“[T]he timing and

circumstances of resignations . . . can add to a pleading of circumstantial evidence of fraud.”).

         Finally, Smith’s suspicious stock sales add weight to the strong inference. 24 On December

11 & 12, 2023, Smith sold 45% of his Direct Digital shares for $1.3 million, after not selling any

shares for a year and only having sold $187,800 in shares, ever. ¶125; Def. Br. at 25–26. These

sales happened immediately after Google “pulled the connection,” which greatly threatened the

Company’s FY 2023 results and put the Company’s growth trajectory at risk. ¶¶72–75. The sales

also came days before the Company’s insider trading blackout period, which would extend until

at least April 2, 2024, that is, after the release of the Company’s FY 2023 results. ¶125. Because

these stock sales are out of line with previous trading and at times calculated to maximize profits,

they “add to the inference of scienter.” ArthroCare, 726 F. Supp. 2d at 722–723.

         D.      Defendants Fail to Present a More Compelling Inference

         Defendants say the “readily apparent” “nonculpable inference” is that “Defendants

believed in the revenue guidance, only for the company to fall short and promptly disclose its miss

once Q4 2023 results were tabulated.” Def. Br. at 24. This narrative, however, sidesteps Plaintiff’s

actual allegations that Defendants’ growth and guidance related statements were misleading due

the failure to disclose the ongoing crisis with Colossus’s platform and the resultant fallout.

Notably, Defendants’ explanation makes no effort to explain why Defendants would lie about the

true reasons for the FY 2023 miss, a fact weighing strongly in favor of scienter.


24
  Although Defendants suggest that Smith should not be a defendant (Def. Br. at 25), they do not contest he is a
control person of Direct Digital. Def. Br. at 30; ¶¶30, 32, 159–164. Anyhow, even non-defendant sales can support
an inference of what was known by company executives but not disclosed. Shaw v. Digital Equip. Corp., 82 F.3d
1194, 1224 (1st Cir. 1996).

                                                       29
     Case 4:24-cv-01940            Document 45           Filed on 03/14/25 in TXSD                Page 37 of 39




         Considered collectively, Plaintiff’s allegations give rise to an equally compelling (really,

much more compelling) inference that Defendants misled investors through a “reckless[] gamble”

of intentionally “concealing bad news in the hope that it will be overtaken by good news.” Six

Flags, 58 F.4th at 215. 25 Defendants were aware of Colossus’s systematic mis-declaration of user

IDs but purposefully hid the crisis and related risks from investors. When Google short paid the

Company after “pulling the connection” in Q4 2023, Defendants dishonestly blamed the FY 2023

miss on two lesser, transitory matters. Only when forced to issue the Company’s long-delayed

2023 Form 10-K in October 2024, and with new auditors onboard, Direct Digital disclosed that a

short pay by its largest customer had been the actual primary cause of the FY 2023 miss. This

inference of scienter is at least as cogent and compelling as Defendants’ proposed inference or any

innocent inference that may be drawn from the facts alleged.

                                                 CONCLUSION

         Plaintiff requests that the Court deny Defendants’ Motion to Dismiss in its entirety. Should

the Court grant the motion in whole or in part, Plaintiff respectfully requests that the dismissal be

without prejudice, and that he be allowed an opportunity to amend. 26




25
   Defendants ask, “[w]hy would Defendants raise and reaffirm guidance that they supposedly knew Direct Digital
could not meet in one quarter, only to disclose a miss in the very next quarter[?]” Def. Br. at 2, 24. Putting aside that
motive allegations are unnecessary, Plaintiff does not allege the guidance was always impossible to meet. E.g., ¶96;
Six Flags, 58 F.4th at 214 (a plaintiff need not “plead future deadlines are categorically ‘impossible’”); Matrixx, 563
U.S. at 48 (motive allegations unnecessary). Defendants’ other questions also misrepresent Plaintiff’s allegations.
Def. Br. at 24. For example, Plaintiff alleges Walker failed to disclose the impact of the accelerated cookie transition
(¶104), Walker recklessly misstated Q1 growth figures (¶120), and while the Company booked the decreased revenue,
it failed to timely disclose the short pay’s existence and that it involved Google, its largest customer (¶112).
26
  Plaintiff has not previously amended. The two now consolidated actions filed prior to appointment of lead plaintiff
were filed by other plaintiffs represented by other law firms. See Salinas v. City of Houston, 2023 WL 3899020, at
*1 (S.D. Tex. June 8, 2023) (Hoyt, J.) (allowing amendment where “plaintiffs have amended their complaint only
once, so there has been no opportunity for repeated failures”).

                                                          30
 Case 4:24-cv-01940     Document 45     Filed on 03/14/25 in TXSD       Page 38 of 39




DATED: March 14, 2025                 JOHNSON FISTEL, LLP


                                      /s/ Michael I. Fistel, Jr.
                                      Michael I. Fistel, Jr.
                                         Attorney-In-Charge
                                      Murray House
                                      40 Powder Springs Street
                                      Marietta, GA 30064
                                      Telephone: (470) 632-6000
                                      Facsimile: (770) 200-3101
                                      michaelf@johnsonfistel.com

                                      JOHNSON FISTEL, LLP
                                      Jeffrey A. Berens
                                      2373 Central Park Boulevard, Suite 100
                                      Denver, CO 80238-2300
                                      Telephone: (303) 861-1764
                                      jeffb@johnsonfistel.com

                                      Lead Counsel for Plaintiff and the Class

                                      SPONSEL MILLER PLLC
                                      Thane Tyler Sponsel III (Texas SBN 24056361)
                                      Federal ID No. 690068
                                      520 Post Oak Blvd.
                                      Houston, TX 77027
                                      Telephone: (713) 892-5400
                                      sponsel@smglawgroup.com

                                      Local Counsel for Plaintiff and the Class




                                         31
  Case 4:24-cv-01940       Document 45      Filed on 03/14/25 in TXSD       Page 39 of 39




                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court’s

CM/ECF system on March 14, 2025.


                                               /s/ Michael I. Fistel, Jr.
                                               MICHAEL I. FISTEL, JR.




                                             32
